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                                                               November 2, 2020


BY ECF
Honorable William H. Pauley III
United States District Judge
Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl St.
New York, NY 10007

                       Re:     United States v. Lywan Reed, et al., 19 Cr. 931 (WHP)
Dear Judge Pauley:
       I am the attorney for Lywan Reed, a defendant in the above-referenced matter. On
October 21, 2020, Mr. Reed pled guilty to Counts Two and Four of the above-referenced
Indictment. He is currently on home detention with electronic monitoring and the Court has
ordered Mr. Reed to self-surrender for remand pending sentencing by November 4, 2020 at
11:00 am. The Court provided Mr. Reed additional time to self-surrender so that he could see a
doctor about medical symptoms he was having.
        Mr. Reed has now been seen by several doctors, including at the Brooklyn Hospital
Center. After multiple electrocardiograms, Mr. Reed has been diagnosed with having aortic
insufficiency, which is a condition in which the aortic valve does not close all the way, causing
blood in the aorta to leak through the aortic valve and can result in heart failure if left untreated.
Symptoms include palpitations and head bobbing. He has a follow-up appointment with a
cardiologist on November 2, 2020 at 2:00 pm. Copies of documentation related to the diagnosis
and follow-up appointment are attached hereto, redacted of personal identifying information.
       Although we do not know what the outcome of the November 2nd appointment will be –
Mr. Reed has been advised that it could include surgery – we request another one-week
extension of Mr. Reed’s self-surrender date so that a course of treatment can be established by
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Mr. Reed’s doctors, including prescribing any medications that he may need in prison.
Accordingly, we request an extension of Mr. Reed’s self-surrender date to November 11, 2020 at
11:00 am.
       I thank the Court for its consideration.
                                                              Respectfully submitted,
                                                                     /s/
                                                              Renato C. Stabile


attachments

cc:    AUSA Rebecca Dell (via ECF)
       Bernisa Mejia, Pretrial Services Officer (via email)




                                     Application granted.




                                            November 2, 2020




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